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      JERRY NEHL BOYLAN
7
8                                UNITED STATES DISTRICT COURT
9                            CENTRAL DISTRICT OF CALIFORNIA
10                                      WESTERN DIVISION
11
12    UNITED STATES OF AMERICA,                           Case No. 2:22-cr-00482-GW-1
13                  Plaintiff,                            NOTICE OF APPEARANCE
14           v.
15    JERRY NEHL BOYLAN,
16                  Defendant.
17
18           PLEASE TAKE NOTICE that Deputy Federal Public Defender Gabriela Rivera
19    has been assigned to represent Defendant Jerry Nehl Boylan.
20           Please make all necessary changes to the Court’s case management/electronic
21    filing system to ensure that Deputy Federal Public Defender Gabriela Rivera receives
22    all e-mails relating to filings in this case.
23
                                                Respectfully submitted,
24
                                                CUAUHTEMOC ORTEGA
25                                              Federal Public Defender
26    DATED: December 20, 2022                  By /s/ Gabriela Rivera
27                                              Gabriela Rivera
                                                Deputy Federal Public Defender
28                                              Attorney for JERRY NEHL BOYLAN

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